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 6

 7                             IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                                WESTERN DIVISION
10

11
     L. HINES                                                         Case No. 2:20-CV-07866-AS
                        Plaintiff,
12                                                                    [proposed] ORDER FOR AWARD OF
13   v.                                                               ATTORNEY FEES UNDER THE
                                                                      EQUAL ACCESS TO JUSTICE ACT
14   KILOLO KIJAKAZI1,                                                (EAJA)
15   Acting Commissioner, Social Security
16
                                                                      Judge: Honorable Alka Sagar
                        Defendant.
17

18

19            Based upon the parties’ Stipulation for Award of Attorney Fees and
20   Expenses under The Equal Access to Justice Act (EAJA), IT IS ORDERED that
21   attorney fees and expenses in the amount of $6,500.00, subject to the terms of the
22   above-referenced Stipulation.
23

24          July 8, 2022
     Date: ___________________                                        / s / Sagar
                                                               _______________________________
                                                               Honorable Alka Sagar
25                                                             United States Magistrate Judge
26

27
              1   Kilolo Kijakazi became Acting Commissioner of Social Security on July 9, 2021. Pursuant to FRCP Rule 25(d),
28   Kilolo Kijakazi should be substituted for Commissioner Andrew Saul as the defendant in this suit. No further action needs to be
     taken to continue this suit by reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).

                   [proposed] Order For Award Of Attorney Fees And Expenses Under The Equal Access To Justice Act (EAJA)
                                         <<Case Details/Court Information/Case Number>>
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